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                        UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA

 James John Rud and Brian Keith                       Civil Case No. 23-cv-486 (JRT-LIB)
 Hausfeld, on behalf of themselves
 and all others similarly situated,

                     Plaintiffs,
                                                   DEFENDANTS’ MOTION TO STAY
       vs.                                              ORDER PENDING APPEAL

 Nancy Johnston, Executive Director,
 Minnesota Sex Offender Program, and
 Jodi Harpstead, Department of Human
 Services Commissioner, in their
 official capacities,

                     Defendants.


      Defendants Nancy Johnston and Jodi Harpstead, in their official capacities, hereby

move the Court for an order staying the Court’s preliminary injunction order at ECF #35

pending Defendants’ appeal of that order. Defendants request expedited handling of this

Motion.

      This Motion is based upon all files, records, and proceedings herein, including

Defendants’ Memorandum of Law in Support of their Motion to Stay the Order (ECF #35),

dated March 24, 2023.



                                   [Signatures on Page 2]




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Dated: March 24, 2023.                      KEITH ELLISON
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